                       THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                                     No. 5:10-CT-3123-BO

SHAUN ANTONIO HAYDEN,                           )
                                                )
                      Plaintiff,                )        DEFENDANT’S MOTION FOR
                                                )          SUMMARY JUDGMENT
       v.                                       )
                                                )               FED. R. CIV. P. 56(a)
PAUL G. BUTLER,                                 )                Local Civ. R. 7.1
                                                )
                      Defendant.                )

       COMES NOW Defendant Paul G. Butler, Jr., through counsel, North Carolina Attorney

General Roy Cooper and Assistant Attorney General Jodi Harrison, and move for summary

judgment pursuant to Rule 56 of the Federal Rules of Civil Procedure on the grounds that no

genuine issue of material fact exists and he is entitled to judgment as a matter of law. In support

of the motion, Defendant relies upon the pleadings and motions on file in this case; his

memorandum in support filed contemporaneously herewith; and the attached exhibits listed in

Exhibit A.

       Respectfully submitted this 10th day of November, 2014.

                                                     ROY COOPER
                                                     Attorney General

                                                     /s/ Jodi Harrison
                                                     Jodi Harrison
                                                     Assistant Attorney General
                                                     N.C. State Bar No. 38816
                                                     N.C. Department of Justice
                                                     Post Office Box 629
                                                     Raleigh, North Carolina 27602-0629
                                                     Telephone: (919) 716-6500
                                                     Fax: (919) 716-6761
                                                     E-mail: jharrison@ncdoj.gov
                                                     Attorney for Defendant
                              CERTIFICATE OF SERVICE

       I hereby certify that on this day, I electronically filed the MOTION FOR SUMMARY

JUDGMENT with the Clerk of the Court using the CM/ECF system, and served via the

CM/ECF system the following participant:

       Elizabeth G. Simpson
       Mary S. Pollard
       NC Prisoner Legal Services
       P.O. Box 25397
       Raleigh, NC 27611
       Attorneys for Plaintiff

       This the 10th day of November, 2014.


                                                  /s/ Jodi Harrison
                                                  Jodi Harrison
                                                  Assistant Attorney General




                                              2
